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                                    ORIGINAL                                                               ^D W
                                                                                            n
                                                                                                        MAR 2 3 2023
 UNITED             STATES             DISTRICT                 COURT
 EASTERN               DISTRICT                 OF NEW               YORK
                                                                            X               PRO SE OFFICE
  \hlklQUO                                  C(\[
                                          Plaintiff,
                                                                                      NOTICE OF MOTION
         . -against-                           /        ^             /     //
                                  fi -t-k                             r     !         jJL.cvil]]( H£)


              PLEASE TAKE NOTICE that upon the annexed affidavit or

 affirmation of                                     W^lCiW                      CAl f sworn to or affirmed
                                          ilc                          20   and upon the complaint herein,

 plaintiff will move this Court, hi                                                                            D.S.D.J.,
 in room                       , United States Courthouse, Brooklyn, New York 11201,

 on the                     day of /jp/'i/ , 20 , at f A^ or as soon
 thereafter as counsel can be heard, for an order pursuant to

 Rule                                  of the Federal Rules of Civil Procedure granting

                                                                                    /v/\ci,4c L         lU I' ^ y

 Dated: /{Atfcl                                          Icl^                                Plaintiff^Rro
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                                                                                     'g."- iJ,J. .,4i.hk
                                                                                      Phone # 7l~|
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     UNITED             STATES            DISTRICT      COURT
                                                                                           MAR 2 3 2023
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     EASTERN               DISTRICT OF NEW                YORK                      PRO SE OFFiCF
                                                                           X


                                          c(^\~
                                           Plaintiff,                  :          AFFIDAVIT/AFFIRMATION



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 Ct^<, 4
                                                                           X
     STATE            OF NEW             YORK               }
     COUNTY OF                                              ) ss.:

                   1/, \AUtl(f 04..
                              \/^ CL-biyiy             L/*1L , [being duly sworn] deposes and says

     [or; make the following affirmation under the penalties of

     perjury]:

                   I, [AlhlCfijO CkL , am the plaintiff in the above
     entitled action, and respectfully move this Court to
                                                       CO issuean
                                                          issue an




     order Ke C cn i(/i.—\/^^i otIy!—
     The reason why I am entitled to the relief I seek is the

     following: (                                 r.f^d^P/l                    Lc,ieJ M,          IL^
     tLp. rourf                                                   o.
            ^ Cp'i \/t\                     -tupLpT rcuf1^_ (                               C'ttrL jLi't L
                   WHEREFORE, I respectfully request that the court grant the

     within motion, as well as such other and further relief that may

     be just and proper.


     Sworn to                            re me this.?'^-^                             Signature
.
fI   dav of                                 20Mr                                       \Kf\A C^AlCl C^-\i
                                                —                                      Print Your name
                                                 JOSEPHINE BOURNE
     NoTary/ Public                         Notary Public, State of New York
                                                                                       Plaintiff Pro Se

                                                   No. 04BO6325374
                                                Qualified in Kijas Counj
     Motion Form & Instructions - U.S.                   1 I c^
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      Court' iMi^xS Cc^lMci , Cohiius:;^^                                     ,
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3-                                       l?C»L           tt 'S- Court ^c/r^. TLbt'f
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      d J-nCi •. 6-V>/ Cci'/'t ^X-fe-,r( j?'^^'»xe^<: <(mC
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Q. \fjL^                  ^                          Aei^                    lLGy\/e.J^ /,^
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 OR:          I declare under penalty of perjury that the foregoing is
              true and correct.


 Executed on




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